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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,             )
                                      )
                Plaintiff,            )                CRIMINAL ACTION
v.                                    )
                                      )                No. 10-20151-01-KHV
RAMON GIRON-ESPANA,                   )
                                      )
                Defendant.            )
_____________________________________)

                                              ORDER

       Defendant’s Motion For A Reduction Of Sentence (Doc. #196) filed February 6, 2015 is

SUSTAINED in part. The Court reduces defendant’s sentence from 121 months in prison (below the

low end of the original guideline range) to 120 months in prison (the statutory mandatory minimum

sentence). To the extent defendant seeks a further reduction of his sentence, the Court overrules his

request. Because the government did not file a motion under 18 U.S.C. § 3553(e) at the time of the

original sentencing, the Court may not impose a reduced sentence below the statutory minimum

sentence. U.S.S.G. § 5K1.1, App. Note 1 (court may sentence defendant below statutory minimum

sentence if circumstances set forth in 18 U.S.C. § 3553(e) are satisfied); see 18 U.S.C. § 3582(c)(2)

(reduction must be consistent with applicable policy statements issued by Sentencing Commission); see

also U.S.S.G. § 1B1.10(a)(3) (proceedings under Section 3582(c)(2) and policy statement do not

constitute full resentencing).

       IT IS SO ORDERED.

       Dated this 17th day of February, 2015, at Kansas City, Kansas.

                                                    s/ Kathryn H. Vratil
                                                    KATHRYN H. VRATIL
                                                    United States District Judge
